              Case 2:16-cv-01655-RAJ Document 89-1 Filed 08/18/17 Page 1 of 2



1                                                                     The Honorable Richard A. Jones
                                                                     The Honorable James P. Donohue
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                                 UNITED STATES DISTRICT COURT
7                               WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
8
     KYLE LYDELL CANTY,                                       )
9                                                Plaintiff,   )
                                                              )   No. 2:16-cv-01655-RAJ-JPD
10                  vs.                                       )
                                                              )   (PROPOSED) ORDER GRANTING
11   CITY OF SEATTLE, et. al.,                                )   MOTION TO SEAL DOCUMENTS
                                                              )
12                                            Defendants.     )
                                                              )
13

14          THIS MATTER came before the Court through a Motion to Seal Documents brought by

15   King County Defendants. Having reviewed this motion and finding good cause, IT IS HEREBY

16   ORDERED THAT the unredacted versions of the Declaration of Melinda Hasegawa and Exhibit

17   1 to that declaration shall remain filed under seal.

18           SO ORDERED.

19          DATED this ___ day of September, 2017.

20

21                                                  ____________________________________
                                                    HONORABLE Richard A. Jones
22                                                  United States District Judge
                                                    HONORABLE James P. Donohue
23                                                  Chief United States Magistrate Judge

                                                                        Daniel T. Satterberg, Prosecuting Attorney
                                                                        CIVIL DIVISION, Litigation Section
      PROPOSED ORDER GRANTING MOTION TO SEAL                            900 King County Administration Building
      (2:16-cv01655-RAJ-JPD) - 1                                        500 Fourth Avenue
                                                                        Seattle, Washington 98104
                                                                        (206) 296-0430 Fax (206) 296-8819
             Case 2:16-cv-01655-RAJ Document 89-1 Filed 08/18/17 Page 2 of 2



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     Presented by:
2

3    DANIEL T. SATTERBERG
     King County Prosecuting Attorney
4
     By: /s/Samantha D. Kanner
5    SAMANTHA D. KANNER, WSBA # 36943
     Senior Deputy Prosecuting Attorneys
6    Attorneys for King County Defendants
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     Copy received:
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9
     By: _________________________________
10   AMEE J. TILGER, WSBA #34613
     Freimund Jackson & Tardif, PLLC
11   Attorneys for City of Seattle Defendants
12
     By: _________________________________
13   KYLE LYDELL CANTY
     Plaintiff, pro se
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                                                          Daniel T. Satterberg, Prosecuting Attorney
                                                          CIVIL DIVISION, Litigation Section
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